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June 13, 2024

Catherine O’Hagan Wolfe
Clerk of the Court
United States Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re: Melendez (Bochner), et al., v. City of New York, et al., No. 23-683

Dear Ms. O’Hagan Wolfe:

We represent Plaintiffs-Appellees Elias Bochner and 287 7th Avenue Realty LLC in the above-
referenced matter. We file this letter in response to the City of New York’s (the “City”) letter to
this Court dated June 7, 2024 (the “City’s Letter”), in which the City addressed issues that arose
during oral argument held in the above-referenced matter on May 29, 2024.

First, while the City claims that the “[e]arliest discussions of the [standing] issue occurred after
the prior appeal was fully resolved and were tentative, identifying the matter as one for further
research”(City’s Letter at 2), a review of the facts of the matter flatly contradicts that claim. The
Joint Appendix (“A”) demonstrates that the City raised the issue of standing of Mr. Bochner and
287 7th Avenue Realty LLC upon their inclusion in this litigation. At the beginning of the
September 11, 2020 oral argument on the preliminary injunction/motion to dismiss, then-counsel
for Plaintiffs, Stephen P. Younger, Esq., and Counsel for the City, Pamela Koplik, Esq., had the
following exchange about standing on the record:

             Mr. Younger: … [I] think, as a result of the recent letters, there’s no dispute about
             standing. So just for the record, as to the Residential Harassment Laws:
             Plaintiffs Melendez, 1025 Pacific, Yang and Haight Trade have standing; for the
             Commercial Harassment Law: Plaintiffs Melendez and Jarican have standing;
             and then finally, for the Guaranty Law: Plaintiffs Bochner and 287 7th
             Avenue have standing.

             And I don’t think there should be any dispute about that at this point.

             The Court: With respect to Bochner, he is not a party to the pending motion for a
             preliminary injunction, correct?



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       Mr. Younger: Well, actually, we’ve filed a proposed amended notice of motion to
       join him to the motion….

       The Court: All right. I’m just going to clarify that. Is that right Ms. Koplik?

       Ms. Koplik: So the documents that were belatedly provided to us do seem to
       establish that new plaintiffs [Mr. Bochner] appear to have standing. We,
       I do not think, have an objection to the motion for preliminary injunction being
       as to those plaintiffs as well.

(Joint Appendix A1079-1080 (emphasis added)). 1

As the excerpt above demonstrates, “the earliest discussions” of the standing issue
occurred at the very inception of the case, and not as the City now claims after the first
appeal in this matter in 2021.

In addition, much of the standing case law that the City relied upon in its August 8, 2023
(“Opening Brief”) and November 28, 2023 (“Reply Brief”) briefs was readily available to
it at the time of the 2021 appeal—and even for the preliminary injunction/motion to
dismiss oral argument excerpted above. The City’s Letter suggests that its key arguments
failed to materialize until certain Supreme Court decisions, but, the majority of its key
points came from pre-2021 decisions. See Lewis v. Governor of Ala., 944 F.3d 1287,
1300 (11th Cir. 2019) (en banc); Dig. Recognition Network, Inc. v. Hutchinson, 803 F.3d
952, 960 (8th Cir. 2015); Nova Health Sys. v. Gandy, 416 F.3d 1149, 1157–58 (10th Cir.
2005).

For example, the City cited Lewis v. Governor of Ala. so frequently in its Reply Brief it is
noted as “passim" in the Table of Authorities, and the City even claimed that the Eleventh
Circuit’s reasoning “tracks this case exactly.” (Reply Brief at 8). The Eleventh Circuit
decided Lewis before this case even commenced, and more than a year before the briefs
were filed during the first appeal in this matter. The City also repeatedly cited to both the
Nova Health Sys. and the Dig. Recognition Network, Inc. cases in its Opening and Reply
Briefs. Accordingly, the City’s claims that its standing arguments only materialized after
the Supreme Court decisions in Haaland v. Brackeen, 143 S. Ct. 1609 (2023), Whole
Woman’s Health v. Jackson, 142 S. Ct. 522 (2021), and California v. Texas, 141 S. Ct.
2104 (2021) ring decidedly hollow.

Finally, while the City attempts to commend itself, claiming the “discovery period was
short and focused on plaintiffs’ standing,” none of the discovery elucidated was relevant
to the City’s standing arguments on traceability or redress. (City’s Letter, at p. 2). Indeed,
the City’s standing arguments rely exclusively on the text of the Guaranty Law, and the

1       A second lawyer for the City further confirmed this point: “Mr. Ugalde Alvarez: I don’t have
much to add. … But I guess, you know, with respect to what Ms. Koplik said, I don’t think we have an
objection for those plaintiffs [Bochner and 287 Seventh Avenue] to be joined to the request.”
(A1080).
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City’s faulty claims that it does not enforce the Guaranty Law. Thus, the factual discovery
conducted by the City—including depositions of both Mr. Bochner and the managing
agent for 287 Seventh Avenue, as well as the document discovery—were utterly irrelevant
to its standing arguments. 2

Second, further research on the enforcement issue demonstrates that the City does in fact have an
obligation to enforce the laws that are passed by New York State. As an initial matter, N.Y. Gen.
City L. § 20 and N.Y.C. Charter § 394(c) (collectively, the “NY Statutes”) contain numerous
provisions that demonstrate the City’s ability to “enforce” its laws. For example, N.Y. General City
Law, Section 20 makes clear that each city in the State of New York is “empowered” to “enforce
its laws,” among taking actions such as file proceedings to make sure that the laws enacted by the
City Council are complied with:

       Subject to the constitution and general laws of this state, every city is empowered:

       (1) To contract and be contracted with and to institute, maintain and defend
           any action or proceeding in any court.

           …

       (13) To maintain order, enforce the laws, protect property and preserve and care
           for the safety, health, comfort and general welfare of the inhabitants of the city
           and visitors thereto; and for any of said purposes to regulate and license
           occupations and businesses.

             …

       (22) To regulate by ordinance or local law any matter within the powers of the city,
          and to provide penalties, forfeitures and imprisonment to punish violations
          thereof, and to maintain an action or special proceeding in a court of
          competent jurisdiction to compel compliance with or restrain by
          injunction the violation of any such ordinance or local law,
          notwithstanding that a penalty, forfeiture and/or imprisonment may have
          been provided to punish violations thereof.

            …

       (23) To exercise all powers necessary and proper for carrying into execution the
          powers granted to the city.

See N.Y. Gen. City L. § 20 (1), (13), (22), and (23).



2      Even the City’s Letter focuses only on the text of Section 22-1005, and not any facts it
purportedly elucidated relating to either Mr. Bochner or 287 Seventh Avenue. (City’s Letter, at p. 4).
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N.Y.C. Charter § 394(c) supplements the above enumerated enforcement powers of the
City by stating that the Corporation Counsel shall have the right to institute actions to,
among other things, “enforce the laws” of the City of New York:

       Except as otherwise provided in this chapter or other law, the corporation
       counsel shall have the right to institute actions in law or equity and any
       proceedings provided by law in any court, local, state or national, to maintain,
       defend and establish the rights, interests, revenues, property, privileges, franchises
       or demands of the city or of any part or portion thereof, or of the people thereof, or
       to collect any money, debts, fines or penalties or to enforce the laws....

N.Y.C. Charter § 394(c).

These NY Statutes resemble the relevant statutes the Second Circuit found sufficient to provide
the State of Connecticut and its Attorney General with “enforcement” authority in its decision in
Tweed-New Haven Airport Authority v. Tong, 930 F.3d 65 (2d Cir. 2019), and which the City
argued differentiated Tweed from this action. See Conn. Gen. Stat. §§ 3-125, 15-120j(c); City’s
Opening Brief at 21-22.

Conn. Gen. Stat. § 3-125, however, like N.Y. Gen. City Law § 20, does not expressly charge the
Attorney General of Connecticut with enforcing any specific statute, but rather gives the Attorney
General broad authority and “general supervision” over legal matters:

       The Attorney General shall appoint a deputy, who shall be sworn to the faithful
       discharge of his duties and shall perform all the duties of the Attorney General in
       case of his sickness or absence. He shall appoint such other assistants as he deems
       necessary, subject to the approval of the Governor. The Attorney General may also
       appoint not more than four associate attorneys general who will serve at the
       pleasure of the Attorney General and will be exempt from the classified service.
       The Attorney General shall have general supervision over all legal
       matters in which the state is an interested party, except those legal matters
       over which prosecuting officers have direction.

Conn. Gen. Stat. § 3-125 (emphasis added). Similarly, Conn. Gen. Stat. § 15-120j (a)-(c) does not
contain any specific mandate requiring the Attorney General to enforce its terms—to the contrary,
the word “enforce” never appears in the relevant text of the statute:

       (a) The authority shall maintain and improve Tweed-New Haven Airport as an
           important economic development asset for the south central Connecticut
           region which is comprised of the towns and cities of Bethany, Branford, East
           Haven, Guilford, Hamden, Madison, Milford, New Haven, North Branford,
           North Haven, Orange, Wallingford, West Haven and Woodbridge. The
           authority shall have the following powers and duties and may exercise such
           powers in its own name: (1) To manage, maintain, supervise and operate
           Tweed-New Haven Airport; (2) do all things necessary to maintain working
           relationships with the state, municipalities and persons, and conduct the
           business of a regional airport, in accordance with applicable statutes and
           regulations; (3) to charge reasonable fees for the services it performs and
           modify, reduce or increase such fees, provided fees shall apply uniformly to all
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           airport users; (4) to enter into contracts, leases and agreements for goods and
           equipment and for services with airlines, concessions, counsel, engineers,
           architects, private consultants and advisors; (5) to contract for the
           construction, reconstruction, enlargement or alteration of airport projects with
           private persons and firms in accordance with such terms and conditions as the
           authority shall determine; (6) to make plans and studies in conjunction with
           the Federal Aviation Administration or other state or federal agencies; (7) to
           apply for and receive grant funds for airport purposes; (8) to plan and enter
           into contracts with municipalities, the state, businesses and other entities to
           finance the operations and debt of the airport, including compensation to the
           host municipalities of New Haven and East Haven for the use of the land
           occupied by the airport; (9) to borrow funds for airport purposes for such
           consideration and upon such terms as the authority may determine to be
           reasonable; (10) to employ a staff necessary to carry out its functions and
           purposes and fix the duties, compensation and benefits of such staff; (11) to
           issue and sell bonds and to use the proceeds of such bonds for capital
           improvements to the airport; (12) to acquire property by purchase or lease for
           airport purposes, subject to applicable requirements of federal law and
           regulation; (13) to prepare and issue budgets, reports, procedures, audits and
           such other materials as may be necessary and desirable to its purposes; and
           (14) to exercise all other powers granted to such an authority by law.

       (b) The authority shall have full control of the operation and management of the
           airport, including land, buildings and easements by means of a lease to the
           authority by the city of New Haven and the town of East Haven.

       (c) Notwithstanding the provisions of subsections (a) and (b) of this section,
           Runway 2-20 of the airport shall not exceed the existing paved runway length
           of five thousand six hundred linear feet.


Conn. Gen. Stat. § 15-120j (a)-(c). In citing to cases outside this circuit, the City ignores that the
Second Circuit in Tweed found statutes that afforded the government with “generalized authority”
(City’s Letter, at p. 3 n.1) over relevant legal issues and “enforcement” of the law sufficient to
confer standing on a plaintiff challenging a statute, like the Guaranty Law, which specifically
proscribed certain actions or conduct by the object of the statute. Tweed, 930 F.3d at 70-71.

Further, N.Y. Gen. City L. § 20 (22)’s reference to “…[m]aintain[ing] an action or special
proceeding in a court of competent jurisdiction to compel compliance with or restrain by
injunction the violation of any such ordinance or local law…” is highlighted, as referenced in
Plaintiffs-Appellees’ May 31, 2024 letter to this Court, by the City’s ongoing interest in defending
the Guaranty Law. 45-47-49 Eighth Ave. LLC v. Conti, 220 A.D.3d 473 (1st Dep’t 2023) involved
an action to enforce the terms of a personal guaranty. While the City of New York first appeared
as amicus curiae, the First Department directed plaintiff to “serve notice on nonparty City of New
York... in order for the City to intervene in support of its constitutionality.” Id. at 474 (citations
and quotation marks omitted).
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In sum, while Appellees respectfully submit that the City’s arguments concerning standing remain
without merit, should this Court decide otherwise, Appellees respectfully request that this Court
impose a monetary sanction against the City that would include all of the costs and attorneys’ fees
incurred by Appellees in connection with both the discovery engaged in after the first appeal, as
well as the costs and attorneys’ fees incurred with the briefing (including this letter brief) of the
second appeal before the Court. Please do not hesitate to contact me should any additional
information be required. Thank you in advance for the Court’s attention to this letter.

Respectfully submitted,



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cc: All counsel, by electronic filing
